            Case 3:18-cv-00110-JCH Document 29 Filed 01/23/18 Page 1 of 2


                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

JOHN DOE,                                                   :
                                                            :   Civil Action No: 3:18-cv-00110-JCH
                                                            :
                       Plaintiff,                           :
                                                            :
                                                            :
                -against-                                   :
                                                            :
                                                            :
YALE UNIVERSITY, YALE UNIVERSITY                            :
BOARD OF TRUSTEES,                                          :
                                                            :
                                                            :
                       Defendants.                          :


PLAINTIFF’S MOTION TO SEAL DEFENDANTS’ OPPOSITION TO PLAINTIFF’S

                 MOTION for a TRO and PRELIMINARY INJUNCTION

       Plaintiff John Doe hereby respectfully moves for the entry of an order sealing

Defendants’ Opposition to Plaintiff’s Motion for a TRO and Preliminary Injunction and

Plaintiff’s present application. This is a case filed by Plaintiff John Doe (“John Doe” being a

pseudonym) related to his suspension from Yale University for sexual misconduct.

       1.       Defendants have inserted into this matter (page 13 second paragraph) personal

and highly confidential information about the Plaintiff that they freely admit was not part of the

UWC record nor the investigation. In fact, Defendants write, “This incident was not known to

the UWC Panel and is not relevant to the question of likelihood of success on the merits”.

(emphasis added).

       2.       Defendants took absolutely no steps to protect this confidential information from

the public knowing full well that the Plaintiff filed his complaint as a John Doe and a motion to

proceed under a pseudonym is pending. As the information is admittedly not part of the record

before Your Honor, nor a public document, Defendants have likely violated various federal
            Case 3:18-cv-00110-JCH Document 29 Filed 01/23/18 Page 2 of 2


statues including but not limited to The Family Educational Rights and Privacy Act (FERPA) (20

U.S.C. § 1232g; 34 CFR Part 99) which is a Federal law that protects the privacy of a student’s

education records and Health Insurance Portability and Accountability Act of 1996 (HIPAA)

which is federal legislation to protect and safe guard an individual’s medical information.

Clearly, the unprotected submission of this information cannot, respectfully, be argued to be

inadvertent.

       3.       Plaintiff is not in this motion seeking to address the veracity of Defendants’

allegations contained in its opposition. The sole purpose of this motion is to have the documents

sealed so as not to be disclosed to the public.

       4.       Plaintiff respectfully requests that Defendants’ Opposition to Plaintiff’s Motion

for a TRO and Preliminary Injunction and Plaintiff’s instant Motion be sealed. Further, Plaintiff

request other and further relief as Your Honor deems just and appropriate.

Dated: New York New York
       January 23, 2018

                                                  Respectfully submitted,
                                                  Attorneys for Plaintiff

NESENOFF & MILTENBERG LLP                         WILLIAM B. BILCHECK JR LAW OFFICES

By: /s/ Andrew T. Mitenberg, Esq._                By: /s/ William B. Bilcheck Jr.____
Andrew T. Miltenberg, Esq. (pro hac               William B. Bilcheck Jr., Esq.
              vice admission pending)             12 Brookside Road
Stuart Bernstein, Esq. (pro hac vice              Madison, Connecticut 06433
              admission pending)                  (203) 245-6252
Philip A. Byler, Esq. (pro hac vice               madctatty@aol.com
              admission pending)
363 Seventh Avenue, Fifth Floor
New York, New York 10001
(212) 736-4500
amiltenberg@nmllplaw.com
sbernstein@nmllplaw.com
pbyler@nmllplaw.com



                                                    2
